Case:lQ-lOBlZ-.]GR Doc#:5 Filed:Ol/24/19 Entered:Ol/24/1916:O7:25 Pagel 0f4

United States Bankruptcy Court

In re GrQwCO, lnc.

District of Colorado

Case No.

Debtor(s) Chapier 11 "

LIST OF EQUITY SECURITY HOLDERS

1/22/19 3:13PM

Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter ll Case

 

`i_\lame and last known address or place of
_business of holc_igerrr

Blue & Green, LLC
6161 S. Syracuse Way, #320
Greenwood Vi||age, CO 80111

Brant R. Wiwi

11956 Laurelwood Dr.
Suite 9

Studio City, CA 91604

Dan Foster lRA
2850 NW Lacamas Dr.
Camas, WA 98607

GrowCo, lnc. Board, Trustee for
2015 TURV Dividend Shares
456 Madison Street

Denver, CO 80206

Hugo Zimmerman
Via Tull 7 7017
Flims Dorf, Switzer|and

l. Wistar Morris

5 Radnor Corporate Center
Suite 450

Radnor, PA 19087

l. Wistar Morris, lRA

5 Radnor Corporate Center
Suite 450

Radnor, PA 1 9087

lRA Resources, lnc. FBO Ange|a
Swarts lRA

6825 La Jo||a Blvd.

La Jo|la, CA 92037

lRA Resources, lnc. FBO John
P. Brooks lRA, #35-37535
6825 La Jolla Blvd.

La Jo|la, CA 92037

lRA Resources, lnc. FBO Maureen
A. Mi|ler lRA, #35-37034

6825 La Jolla Blvd.

La Jo|la, CA 92037

Sheet l of 4 in List of Equity Security Holders
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Security Class Number of Securities

650,000

65,000

100,000

10,000,000

425,000

525,000 Unknown

625,000

100,000

75,000

50,000

Kind of lnterest

Best Case Bankruptcy

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In re: “GrowCo, lnc. v 4 CaS¢NO- ,W,, , _____
Debtor(s)

LIST OF EQUITY SECURITY HOLDERS
(Continuation Sheet)

 

Name and last known address orwplace of Security Class Number of Secun`ties Kind of Interesi

 

lRA Resources, lnc. FBO Me|issa 38,000
Lynn Richards lRA, #35-37549

6825 La Jolla Blvd.

La Jo|la, CA 90237

lRA Resources, lnc. FBO Michae| 135,000
Wy|y Harnish, #35-37097

6825 La Jolla Blvd.

La Jo|la, CA 92037

lRA Resources, lnc. FBO Richard 10,000
Wiwi lRA, #35-37093

6825 La Jolla Blvd.

La Jo|la, CA 92037

lRA Resources, lnc. FBO Stephan 90,000
Robert Marrinan lRA, #35-37509

6825 La Jolla Blvd.

La Jo|la, CA 92037

lRA Resources, lnc. FBO Wayne 100,000
Harding lRA, #35-35551

6825 La Jo||a Blvd.

La Jo|la, CA 92037

John R. McKowen 10,000
456 Madison Street
Denver, CO 80206

Joseph McKowen 50,000
11032 Pheasant Ct.
Parker, CO 80134

JP Consulting Corp. 50,000
8480 E. Orchard Road, Suite 4900
Greenwood Vi||age, CO 80111

Laura McKowen 50,000
78 Front Street
Marb|ehead, MA 01945

Lee James Wagner 125,000
430 Edgewood Road
San Mateo, CA 94402

Mark E. Anderson MD APC PSP&T 150,000
16300 Sand Canyon Ave.

Suite 1005

lrvine, CA 92618

List of equity security holders consists of 4 total page(s)
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In re: `GrowCO, lnc.

LIST OF EQUITY SECURITY HOLDERS
(Continuation Sheet)

Name and last known address or place of 7 Security Class Numb¢er’of Securities

Ab¢usinesrs of holder m
McGrow, LLC

456 Madison Street

Denver, CO 80206

Pensco Trust Company, Custodian
FBO Megan Ke|ley, lRA

P.O. Box 173859

Litt|eton, CO 80127

Pensco Trust Company, Custodian
FBO Matthew Ke|ley, lRA

P.O. Box 173859

Denver, CO 80217

Terry Lee Swarts
6825 La Jo|la Blvd.
La Jo|la, CA 92037

Thomas Prasil Trust UlAID 11l26l2003
3935 San Migue| Ave.
Paradise Val|ey, AZ 85253

Two Rivers Water & Farming Company
3025 S. Parker Road, Suite 140
Aurora, CO 80014

Urusla Gutscher
Via Tull 7 7017
Flims Dorf, Switzerland

Waterton Financial, lnc.
6071 Si|ver Thorn Run
Littleton, CO 80125

Wayne Harding
22586 E. Weaver Dr.
Aurora, CO 80016

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Kind of lnterest

 

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ln re: _GrowCo, lnc. 7 b Case No_ _“
Debtor(s)

 

LIST OF EQUITY SECURITY HOLDERS
(Continuation Sheet)

 

Name and last known address or placed of Security Class n NuInber of Securities m il Kind oflnterest
business of holder

 

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHlP

I, the CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.

bare `~_»anuary 22.2019 ~ signature wl g %{¢ M
Jo

P(~i/R McKowen

Penaltyfor making a hlse statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C. §§ 152 and 3571.

List of equity security holders consists of 4 total page(s)

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